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     1322 F Street
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 4   Facsimile: (916) 441-4202
 5   Attorney for Defendant
     HECTOR MANRIQUEZ
 6
 7
 8                   IN THE UNITED STATES DISTRICT COURT
 9                 FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )        No. 2:05-cr-0227-MCE
                                   )
12             Plaintiff,          )
                                   )
13        v.                       )        CORRECTED STIPULATION AND
                                   )        [PROPOSED] ORDER
14   HECTOR MANRIQUEZ,             )
                                   )
15             Defendant.          )
     ______________________________)
16
17        IT IS HEREBY stipulated between the parties, Plaintiff
18   United States of America, by and through United States Attorney
19   McGregor W. Scott and Assistant United States Attorney Phillip A.
20   Talbert, and Defendant, Hector Manriquez, through his attorney,
21   Lorie J. Teichert, that the previously set Status Conference of
22   January 31, 2006 be continued to March 21, 2006 at 8:30 a.m.
23        It is further stipulated and agreed between the parties that
24   the period between January 31, 2006 and March 21, 2006 should be
25   excluded in computing the time within which the trial of the
26   above criminal prosecution must commence for purposes of the
27   Speedy Trial Act for the purpose of further investigation of
28   factual issues, determination of potential immigration

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 1   consequences, and further settlement discussions.         At present,
 2   there is an indicted but not yet apprehended co-defendant which
 3   reportedly has a history of drug trafficking activities in
 4   Northern California. The defense wishes to investigate matters
 5   relating to the co-defendant which may have a potential impact on
 6   defendant’s culpability and to locate witnesses who can provide
 7   information as to defendant’s activities and background during
 8   the relevant time period in this case.       The defense also will be
 9   seeking appointment of an immigration consultant to properly
10   advise defendant of the potential immigration consequences of
11   alternative resolutions of this matter.       Finally, the defense
12   seeks to continue settlement discussions with the Government.
13   All parties stipulate and agree that the exclusion of time
14   between January 31, 2006 and March 21, 2006 is an appropriate
15   exclusion of time within the meaning of Title 18, United States
16   Code, section 3161(h)(8)(B)(iv), and Local Code T4.
17   Dated: January 30, 2006          Respectfully submitted,
18
                                         /s/ Lorie J. Teichert
19                                     LORIE J. TEICHERT
                                       Attorney for Defendant
20                                     Hector Manriquez
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 1   Dated: January 30, 2006           McGREGOR W. SCOTT
                                       United States Attorney
 2
 3                                     By: /s/ Phillip A. Talbert
                                          PHILLIP A. TALBERT
 4                                        Assistant U.S. Attorney
 5
 6
                                      ORDER
 7
     IT IS SO ORDERED.
 8
     Dated: February 16, 2006
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11                                     _____________________________
                                       MORRISON C. ENGLAND, JR
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                                       UNITED STATES DISTRICT JUDGE
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